EXHIBIT 5
                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION
BANK POLICY INSTITUTE, OHIO CHAM-
BER OF COMMERCE, OHIO BANKERS
LEAGUE, AMERICAN BANKERS ASSOCI-
ATION and CHAMBER OF COMMERCE OF
THE UNITED STATES OF AMERICA,                        Case No. 2:24-cv-04300
                                                     District Judge Algenon L. Marbley
                       Plaintiffs,                   Magistrate Judge Chelsey M. Vascura
           V.

BOARD OF GOVERNORS OF THE
FEDERAL RESERVE SYSTEM,

                       Defendant.


                               Declaration of Thomas Quaadman

           1.   My name is Thomas Quaadman, and I am the Senior Vice President for Economic

Policy at the Chamber of Commerce of the United States of America ("Chamber"). In that capac-

ity, I oversee all of the operations of the Center for Capital Markets Competitiveness (CCMC) at

the Chamber. CCMC works to advance America's global leadership in capital formation by sup-

porting diverse capital markets that are the most fair, transparent, efficient, and innovative in the

world. CCMC advocates on behalf of American businesses to ensure that legislation and regula-

tion strengthen our capital markets, thus allowing businesses-from the local flower shop to a

multi-national manufacturer-to mitigate risks, manage liquidity, access credit, and raise capital.

I led the Chamber's efforts on the Dodd-Frank Wall Street Reform and Consumer Protection Act,

and I direct the Chamber's work on corporate governance. I have also testified on several occa-

sions before congressional committees on issues relating to our capital markets, including stress

testing.
       2.      The purpose of this declaration is to discuss the effects of the lack of transparency

in the current stress testing regime on members of the Chamber.

       3.      Unless otherwise stated, this Declaration is based upon my personal knowledge and

belief and/or upon my review of business records of the Chamber. If called as a witness, I could

and would testify competently thereto.

       4.      The Chamber is the world's largest business federation, representing approximately

300,000 direct members and indirectly representing the interests of more than three million U.S.

businesses and professional organizations of every size, in every industry sector, and from every

region of the country.

       5.      The Chamber's Center for Capital Markets Competitiveness and many Chamber

members or their affiliated entities submitted comment letters on the proposed Enhanced Disclo-

sure of the Models Used in the Federal Reserve's Supervisory Stress Test document, 82 Fed. Reg.

59,547 (Dec. 15, 2017), the proposed Stress Testing Policy Statement, 82 Fed. Reg. 59,528 (Dec.

15, 2017), the proposed Policy Statement on the Scenario Design Framework for Stress Testing,

82 Fed. Reg. 59,533 (Dec. 15, 2017), and/or the proposed Amendments to the Regulatory Capital,

Capital Plan, and Stress Test Rules, 83 Fed. Reg. 18,160 (Apr. 25, 2018).

       6.      Many Chamber members are required to participate in the Board of Governors of

the Federal Reserve System's supervisory stress tests and comply with the capital requirements

that are at issue in this case, including Bank of America Corporation, Citigroup, Inc., JPMorgan

Chase & Co., Morgan Stanley, The PNC Financial Services Group, Inc., U.S. Bancorp, and Wells

Fargo & Co.

       7.      The current stress testing requirements imposed on banks negatively impact our

local communities and economies by locking up capital that could otherwise fuel new and existing




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businesses of all sizes. The Chamber advocates on behalf of the banks that are subject to the stress

tests, and we also represent the interests of the businesses that ultimately bear the uncertainty and

financial strain caused by banks' restricted ability to lend under the Board's stress-test regime.

The lack of transparency surrounding the current stress-testing regime, along with its tendency to

lead banks to keep excess capital reserves, are inconsistent with the Chamber's policy objectives

of supporting a regulatory environment that fosters economic growth. Challenging the actions is

germane to the purposes of the Chamber.




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct. Executed this/.AJ.day of March, 2025 at """'Pll!alUL.L&.l""f--9"~~=




                                                 On behalf of the Chamber of Commerce of the
                                                 United States of America




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